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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES —GENERAL


Case No. CR-19-575-FMO-1                                                              Date: 1/7/2021


Present: The Honorable Gail J. Standish, United States Magistrate Judge

Interpreter: N/A
                 E. Carson                                  N/A                                      N/A
                 Deputy Clerk                   Court Reporter /Recorder                 Assistant U.S. Attorney


   U.S.A. v. Defendant(sl       Present Cust     Bond              Attorne~(sl for Defendant(s~:       Present Ann Ret

  Zachariah Rinehart             x      x                          Erica Choi                                x   x


Proceedings:           (IN CHAMBERS) DETENTION ORDER

Defendant made his initial appearance today on a warrant issued by the Honorable Fernando M.
Olguin on December 2, 2020, based on allegations that Defendant violated the terms of his
pretrial release. Pretrial Services requested the warrant based on two new state court criminal
cases sustained by the Defendant while on supervision. According to the Violation Report,
Defendant pled no contest to a charge of Corporal Injury to a Spouse/Cohabitant, 273.6 PC,on
November 24, 2020. On that same date he also pled no contest to a misdemeanor charge of
Battery, 242-243(E)(1). Based on the information contained in the Violation Report and for the
reasons discussed further at the hearing, the Court finds by clear and convincing evidence that
the Defendant is both a danger to the community and a flight risk and orders that his pretrial
supervision be revoked. Defendant is remanded to the custody of the BOP pending trial in this
case.




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